_ Case 2:03-cv-O2530-.]DB-dkv Document 22 Filed 07/25/05 Page 1 of 20 Page|D 37

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

GARY C. HANEY,
Plaintiff,

vs. No. 03~2530~B/V

UNITED STATES CUSTOMS SERVICE,

Defendant.

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ORDER GRANTING PLAINTIFF'S MOTION FOR RECONSIDERATION
ORDER VACATING DISMISSAL ORDER AND JUDGMENT
ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Gary C. Haney filed a pro §§ complaint pursuant
to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552 et §§g;,
on July 21, 2003 and paid the civil filing fee. The Court issued
an order on November 4, 2003 authorizing the clerk to issue
summonses to the plaintiff and directing the clerk to serve the
defendant as the United States Customs Service (“USCS”).1 The
defendant answered the complaint on January 20, 2004 and filed a

summary judgment motion on October 29, 2004, along with a

 

1 As the defendant has pointed out, with the creation of the Department

of Homeland Security, the USCS no longer exists. The functions and records that
are the subject of this action were transferred to the Bureau of Immigration and
Customs Enforcement (“ICE”). The defendant does not contend that the plaintiff
has sued the wrong entity, and the Court will use the term “agency” to refer to

either the former USCS or the ICE.
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Case 2:03-cv-O2530-.]DB-dkv Document 22 Filed 07/25/05 Page 2 of 20 Page|D 38

supporting memorandum. Plaintiff did not timely respond to the
motion and, on December 9, 2004, the Court issued an order
directing the plaintiff to show cause, within fifteen days, why the
motion for summary judgment should, not be granted. The order
further provided that “[f]ailure of the Plaintiff to comply in a
timely manner to this order will result in the granting of the
pending motion and dismissal of this lawsuit with prejudice for
failure to prosecute.” 12/09/04 Order at l. Because plaintiff did
not respond to the order to show cause, the Court issued an order
on January 3, 2005 dismissing the action with prejudice. Judgment
was entered on January 5, 2005.

On January lO, 2005, the clerk docketed a letter from the
plaintiff stating that he did not promptly receive the order to
show cause and. outlining the difficulties he faces in timely
receiving his mail due to the fact that he works away from the
address at which he receives mail. Although plaintiff plausibly
demonstrated that he did not timely receive the order to show
cause, he did not explain why he did not respond punctually to the
summary judgment motion or why he did not seek an extension of time
to answer the order to show cause. Thereafter, on January 25, 2005,
plaintiff submitted a motion seeking reconsideration of the order
of dismissal with prejudice. That motion reiterates the content of
the plaintiff’s January 10, 2005 letter and also asserts that, at

some unspecified time after receipt of the order to show cause,

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 3 of 20 Page|D 39

“plaintiff contacted the Clerk of the Court to request an extension
of time of several days to file an answer, until January lO, 2005,
as the answer had been completed, but was advised by the clerk that
the January 03 order had been filed.” Plaintiff also filed his
response to the summary judgment motion on January 25, 2005. On
February 'L 2005, defendant filed .its response to plaintiff’s
motion for reconsideration.

As defendant has pointed out, Haney has offered no
explanation for his failure to file a 'timely response to the
summary judgment motion or to request an extension of the normal
thirty-day period for filing a response. §ee Local Rule 7.2(a)(2).
Although the court ordinarily would decline to afford relief
because of the plaintiff's dilatory conduct, the Sixth Circuit has
required district courts to be particularly solicitous when
considering summary judgment motions in cases filed by prc §§
prisoners. Compare McKinnie v. Roadwav Express, Inc., 341 F.3d 554,
558 (6th Cir. 2003) (“Plaintiffs also contend that the district
court should have given them notice as to the requirements of
Federal Civil Procedure Rule 56(e), as well as the consequences of
failing to oppose Roadway’s summary judgment motion. Ordinary civil
litigants proceeding prp §e, however, are not entitled to special
treatment, including assistance in regards to responding to
dispositive motions.”); Brock v. Hendershott, 840 F.2d 339, 343

(6th Cir. 1988}(pro §§ defendants not entitled to special treatment

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 4 of 20 Page|D 40

when responding to summary judgment motion; “When a person
chooses to represent himselfr he should expect no special treatment
which prefers him over others who are represented by attorneys.”)
with United States v. Ninetv-Three (93) Firearms, 330 F.3d 414 (6th
Cir. 2003) (suggesting that district courts are required to advise
pro_§e prisoners of their responsibilities in responding to summary
judgment motions). Although the plaintiff in this case was not a
prisoner when the summary judgment motion was filed, he was
incarcerated when he filed his complaint and, therefore, he may be
entitled to the special solicitude the Sixth Circuit has required
district courts to accord to prisoners in responding to summary
judgment motions. See Ninetv-Three (93) Firearms, 330 F.3d at 428
(suggesting that a litigant who was incarcerated when he filed his
complaint may be entitled to special treatment even after his
release). Accordingly, as plaintiff has now filed a substantive
response to the summary judgment motion, the Court will exercise
its discretion to GRANT the motion for reconsideration and VACATE
the January 3, 2005 dismissal order and the judgment.

With respect to the substance of the defendant’s Summary
judgment motion, summary judgment is appropriate “if . .. there is
no genuine issue as to any material fact and . . . the moving party
is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c).
As the Supreme Court explained:

In our view, the plain language of Rule 56(c) mandates
the entry of summary judgment, after adequate time for

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 5 of 20 Page|D 41

discovery and upon motion, against a party who fails to
make a showing sufficient to establish the existence of
an element essential to that party's case, and on which
that party will bear the burden of proof at trial. In
such a situation, there can be “no genuine issue as to
any material fact,” since a complete failure of proof
concerning an essential element of the nonmoving party's
case necessarily renders all other facts immaterial. The
moving party is “entitled to judgment as a matter of law”
because the nonmoving party has failed to make a
sufficient showing on an essential element of [his] case
with respect to which [he] has the burden of proof.
Celotex Corp. v. Catrett, 471 U.S. 31?, 322-23 (1986) (citation
omitted).

Under Fed. R. Civ. P. 56(e}, “[w]hen a motion for summary
judgment is made and supported as provided in this rule, an adverse
party may not rest upon the mere allegations or denials of the
adverse party's pleading, but the adverse party’s response, by
affidavits or as otherwise provided in this rule, must set forth
specific facts showing that there is a genuine issue for trial.” In
considering a motion for summary judgment, “the evidence as well as

the inferences drawn therefrom must be read in the light most

favorable to the party opposing the motion.” Kochins v. Linden-

 

Alimakc Inc., 799 F.2d 1128, 1133 (6th Cir. 1986); see also
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 514,

587-88 (1986) (same).2

 

2 Rule 56(e) sets forth in detail the evidentiary' requirements
applicable to a summary judgment motion:

Supporting and opposing affidavits shall be made on personal
knowledge, shall set forth such facts as would be admissible in
evidence, and shall show affirmatively that the affiant is competent
to testify as to all the matters stated therein. Sworn or certified

(continued...)

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 6 of 20 Page|D 42

A genuine issue of material fact exists “if the evidence
[presented by the non-moving party] is such that a reasonable jury
could return a verdict for the non-moving party.” Anderson v.
Libertv Lobbv, Inc., 477 U.S. 242, 248 {1986); see also id; at 252
(“The mere existence of a scintilla of evidence in support of the
plaintiff's position will be insufficient; there must be evidence
On which the jury could reasonably find for the plaintiff. The
judge’s inquiry, therefore, unavoidably asks whether reasonable
jurors could find by a preponderance of the evidence that the
plaintiff is entitled to a verdict[.}”); Matsushita, 475 U.S. at
586 (“When the moving party has carried its burden under Rule
56(c), its opponent must do more than simply show that there is
some metaphysical doubt as to the lnaterial facts.”) (footnote
omitted). The Court’s function is not to weigh the evidence, judge
credibility, or in any way determine the truth of the matter,
however. Liberty Lobby, 477 U.S. at 249. Rather, the inquiry is
“whether the evidence presents a sufficient disagreement to require
submission to a jury or whether it is so one-sided that one party
must prevail as a matter of law.” ld; at 251-52.

In this case, the facts appear to be as follows:3

 

2 (...continued)

copies of all papers or parts thereof referred to in an affidavit

shall be attached thereto or served therewith. The court may permit

affidavits to be supplemented or opposed by depositions, answers to

interrogatories, or further affidavits.

3 The Court'S task is Complicated by plaintiff's failure to comply with

Local Rule 7.2(d)(3), which provides that “the opponent of a motion for summary
(continued...)

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 7 of 20 Page|D 43

l. By letter dated November 25, 2002, Plaintiff
submitted his first FOIA/Privacy Act (“PA") request to
the agency for records relating to him. Plaintiff’s
request was assigned the HQ FOIA. Case No. 03-13657.
(Declaration of Stephen B. Plitman, dated Oct. 26, 2004
(“Plitman Decl.”), l 5 & Ex. 1; Compl., li 9, ll.)

2. The plaintiff's first FOIA request was handled
by the lnformation Disclosure Branch, Administration,
Planning and Policy Division, Office of Investigations,
of the former USCS, which is charged with the
responsibility of responding to agency FOIA and/or PA
requests. That section is currently known as the
lnformation Disclosure Unit in the Mission Support
Division of the Office of lnvestigations at ICE
Headquarters (“HQ”). The former lnformation Disclosure
Branch, and the current lnformation Disclosure Unit, are
sometimes referred to as the “office.” (Plitman Decl., ll
2-3.)

3. By letter dated December 19, 2002, the office
acknowledged receipt of the Plaintiff’s first FOIA
request dated November 25, 2002, advised him that his
request would be processed in the order in which it had
been received, and assured him that it would act with all
due diligence by allocating the resources available to
process his request as soon as possible. (Plitman Decl.,
l 6 & Ex. Z.V

4. The office conducted. a search to determine
where any responsive records would be located. This
search indicated that responsive records could be located
at HQ or at the Office of the Resident Agent in Charge

 

3 (...continued)

judgment who disputes any of the material facts upon which the proponent has
relied pursuant to subsection (2) above shall respond.to the proponent's numbered
designations, using the corresponding serial numbering, both in the response and
by affixing to the response copies of the precise portions of the record relied
upon to evidence the opponent's contention that the proponent’s designated
material facts are at issue.” Nonetheless, the Court has attempted, by examining
the text of the plaintiff's response and the documents submitted with the
complaint, to discern the extent to which plaintiff is able to dispute the
proposed factual findings submitted by defendant.

4 The verified complaint asserts that, “{b]y letter dated December 19,
2002, the USCS responded to the said FOIA demand, acknowledging and admitting
that documents/files/records/electronically recorded conversations responsive to
plaintiff's FOIA demand.existed and were in the custody and control of the USCS."
Compl., T 10. In fact, the December 19, 2002 letter says no such thing.

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Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 8 of 20 Page|D 44

(“RAC”) in Little Rock, Arkansas, which was, and is,
under the territorial jurisdiction of the Special Agent
in Charge (“SAC”}, New Orleans, Louisiana. By letter

dated January 15, 2003, the office provided Plaintiff
nine pages of redacted records it determined were
responsive to his request. The office redacted
information pursuant to FOIA exemptions (b)(2),
(b)(7)(C), and (b)(7)(E). In addition, the office advised
Plaintiff that if other records existed that were
responsive to his request they would be located with the
SAC, New Orleans. Finally, the office notified Plaintiff
that it had forwarded a copy of his FOIA request to the
SAC, New Orleans for a records search, disclosure
determination, and direct response to the Plaintiff. The
office advised Plaintiff of his right to appeal this
initial response. (Plitman Decl., l 7 & Ex. 3.)5

5. By memorandum dated January 15, 2003r the
office referred a copy of Plaintiff's FOIA request to the
SAC, New Orleans for a records search, disclosure
determination, and direct response to the requester. The
office also referenced The Enforcement Communication
System (“TECS”) record LR13MJ91LR0005. (Plitman Decl., I
8 & Ex. 4.)

6. By letter dated December lO, 2002, Plaintiff
submitted a second FOIA request to the agency HQ, wherein
he requested access to records relating to his brother,
Thomas Larry Haney. Plaintiff attached a signed
“Certification of ldentity” statement from his brother to
the December 10, 2002 request. The office assigned
Plaintiff's second FOIA the HQ FOIA Case No. 03-13666.
After conducting a search for the location of responsive
records, the office determined that, if any responsive
records existed, they would be located at HQ or at the
RAC, Little Rock, Arkansas, under the jurisdiction of the
SAC, New Orleans, Louisiana. (Plitman Decl., l 9 & Ex.
4A; Compl., l 12 & 14.)

7. By letter dated December 24, 2002, the Office
acknowledged receipt of Plaintiff's second FOIA request
and again advised him that it would process his request
in the order it had been received but would act with all
due diligence by allocating the resources available to

 

5 Plaintiff’s verified complaint, and his response to the summary

judgment motionr do not specifically address this letter, although plaintiff does
attach a copy of the letter to his response to the motion.

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Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 9 of 20 Page|D 45

his request as soon as possible. (Plitman Dec., l 10 &
Ex. 5.)6

8. By letter dated April 3, 2003, the office
advised Plaintiff that it sent records responsive to his
second request, dated December 10, 2002, directly to his
brother, Thomas L. Haney. (Plitman Decl., l 11 & Ex. 6.}

9. By letter dated April 3, 2003, the office
mailed five pages of redacted records to Plaintiff's
brother that it determined were responsive to Plaintiff's
second FOIA, request. The office informed Plaintiff’s
brother that it had redacted information pursuant to FOIA
exemptions (b)(2), (b)(7)(C), and (b}(7)(E) and advised
him that if other records responsive to Plaintiff's
second request existed, they would be located with the
SAC, New Orleans. The office notified Plaintiff's brother
that it had referred Plaintiff's second FOIA request {03-
13666) to the SAC, New Orleans for a record search,
disclosure determination, and direct response to
Plaintiff’s brother. (Plitman Decl., l 11 & Ex. 6.)T

10. By memorandum dated April 3, 2003, the office
forwarded a copy of Plaintiff’s second FOIA request to
the SAC, New Orleans for a records search, disclosure
determination, and direct response to Plaintiff’s
brother. The office also made reference to TECS record
LR13MJ91LR0005. (Plitman Decl., l 13 & Ex. 7.)

11. By letter dated December 19, 2002, the Port
Director, New Orleans, Louisiana, acknowledged receipt of
Plaintiff’s second FOIA request dated December 10, 2002.
The Port Director advised Plaintiff that records
responsive to his request might be located at the office
of the SAC, New Orleans, Louisiana. The Port Director
assigned this duplicate second request New Orleans, FOIA
Case No. DlS-4-G: NO MJM. (Plitman Decl., I 14 & Ex. lO.)

 

5 The verified complaint asserts that, “[b]y letter dated December 24,

2002, the USCS responded to the said FOIA demand regarding Thomas, acknowledging
and admitting that documents/files/records/electronically recorded conversations
responsive to plaintiff's FOIA demand regarding Thomas existed and were in the
custody and control of the USCS.” Compl., l 13. This is a mischaracterization of
the contents of the December 24, 2002 letter.

7 Plaintiff does not address these letters in his verified complaint
or in his response to the summary judgment motion. lt is not clear whether
plaintiff has communicated with his brother concerning the letter that was sent
directly to him.

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 10 of 20 Page|D 46

12. By memorandum.dated December 19, 2002, the Port
Director, New Orleans, Louisiana, advised the SAC, New
Orleans, Louisiana that the SAC office may have records
responsive to the Plaintiff’s request. The Port Director
referenced TECS record LRl3MJ91LR005. (Plitman Decl., T
15 & unnumbered ex.)

13. By letter dated February 3, 2003, Plaintiff
submitted another FOIA request to supplement his earlier
FOIA requests. Specifically, he requested “a copy of USCS
Case No. LR13MJ1LR005 file . . . and a copy of all
reports, memos, files, report [sic] of investigation
(whether approved or unapproved) regarding events
occurring on July 02, 1001, involving U.S. Customs Agents
Gary Warden and John Turner (in cooperation with DEA
Special Agent Karen Farenbach) and alleged negotiations
and telephone calls with either GARY HANEY and/or THOMAS
L. HANEY.” (Plitman Decl., l 16 & Ex. 12; Compl., I 15.)8

14. By letter dated May 21, 2003, the SAC, New
Orleans mailed to the Plaintiff five pages of redacted
records it determined were responsive to Plaintiff's
first FOIA request, FOIA Case No. 2003-11. The redactions
were made pursuant to exemptions (b)(2) and (b)(7)(C) of
the FOIA. The SAC, New Orleans found seven other records
totaling nineteen (19) pages that were responsive to the
Plaintiff’s request. These records were withheld in their
entirety pursuant to exemptions (b)(2), (b)(7)(C), and
(b)(7)(E) of the FOIA. The response the SAC, New Orleans
sent to Plaintiff did not address these records. (Plitman
Decl., l 17 & Ex. 13.)

15. On May 21, 2003, the SAC, New Orleans mailed
seven pages of redacted records it determined were
responsive to Plaintiff’s second and supplemental FOIA
requests, under FOIA Case No. 2003-7. The SAC, New
Orleans sent its response to the plaintiff's brother,
Thomas Haney. In its response to Plaintiff, the SAC, New
Orleans provided notice of Plaintiff's appeal rights. The
SAC, New Orleans found seven other records totaling
nineteen (19) pages that were responsive to the
Plaintiff’s request. These records were withheld in their

 

5 The complaint characterizes this third request as a limiting letter

submitted in response to a request by the USCS that he narrow and limit the scope
and extent of his FOIA requests. Compl., l 15. Plaintiff has not submitted any
documents supporting this characterization, and the defendant’s summary judgment
motion does not address this point.

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Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 11 of 20 Page|D 47

entirety pursuant to exemptions (b)(2), (b)(7)(C), and
(b)(7)(E) of the FOIA. The SAC, New Orleans’ response did
not address these documents. (Plitman Decl., I 18 & Ex.
13.)9

16. During the time that the SAC, New Orleans
conducted its search for records responsive to the
Plaintiff’s request for records, the RAC, Little Rock,
Arkansas found fifty-three (53) pages of handwritten
notes taken from a review of audiotapes. At that time,
the Research Specialist determined that the records were
not responsive to the Plaintiff’s request because he
believed that the records related to other people.
Recently, in a telephone conversation between the Program
Analyst assigned. to the case in the office and the
research specialist who processed this case in the field,
these 53 handwritten documents were discussed. During
this conversation the Program Analyst from this office
determined that the records were in fact responsive to
the Plaintiff's request and made provisions to obtain,
review, and process the records for disclosure to the
Plaintiff. The documents have now been processed and will
be sent by FEDEX to the Plaintiff on October 28, 2004.
(Plitman Decl., l 19.)10

17. To date, the agency has not received an appeal
of any of its responses to Plaintiff's FOIA requests.
(Plitman Decl., l 20.)

18. ln preparation for this litigation, the office
contacted the agency’s field office in Little Rock
regarding its processing of the Plaintiff’s FOIA
requests. As a result of that contact, the field office
in Little Rock forwarded an additional fifty-three (53)
pages of records responsive to Plaintiff's request.
Specifically, the field office forwarded summaries of
taped discussions that took place between7 an agency
Special Agent and various other individuals, including
Plaintiff at times. Previously, the field office had

 

9 The verified complaint and the response to the summary judgment

motion do not mention either of the May 23, 2003 letters. lt appears that
plaintiff contends he did not receive either the April 3, 2003 letter or the May
21, 2003 letter, although he provides no argument that the defendant did notr in
fact, mail the letters. lt is not clear whether plaintiff also contends his
brother did not receive either of those letters.

10 The plaintiff's response to the summary judgment motion does not
state whether he, in fact, received these records.

ll

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 12 of 20 Page|D 48

incorrectly determined that these documents were not
responsive because it was not readily apparent that any
of the summaries related to discussions that took place
with Plaintiff. As a result of this oversight, the field
office in Little Rock did not process these pages as
responsive or forward thenl to HQ. Upon the office's
contact with the RAC office in Little Rock, however, the
Little Rock, Arkansas office once again examined its
files and upon this second examination determined that
the transcripts were at least partially responsive. As a
result of this discovery, the office in Little Rock
searched for any additional responsive records, including
copies of the tape recordings that the handwritten notes
summarized, but found none. The office in Little Rock has
assured the office that it has now forwarded all
materials it located that in any way related to
Plaintiff’s request to the office. (Plitman Decl., l 21.)

19. The agency, upon receipt of each of Plaintiff’s
FOIA requests, assigned FOIA case numbers, logged the
requests into an electronic FOIA database tracking
system, assigned program analysis to process the
requests, and reviewed and issued responses to the
requests. (Plitman Decl., f 22.)

20. In processing each of Plaintiff's requests, the
program analyst conducted internal searches for
responsive records by querying the Plaintiff’s name and
other personal identifiers in TECS. TECS is a nationwide
law enforcement tool used to located investigative
records that could be responsive to a FOIA request. TECS
is also used to identify the existence and location of
other responsive records originating in or under the
control of one or more SAC Offices. (Plitman Decl., l
23.}

21. Even though the HQ Office of lnvestigations,
lnformation Disclosure Unit’s FOIA Program is
decentralized, this office renders guidance to the Office
of lnvestigations field offices, and supplements
personnel to assist in processing voluminous and time
sensitive disclosure cases. This office is responsible
for making an initial determination on disclosure of
specific records in TECS. The originating office that
opens an investigation is responsible for processing
records, such as reports of investigation7 and other
investigative information compiled for law enforcement
purposes, located within that office. lf it is determined

12

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 13 of 20 Page|D 49

that responsive records exist in other offices within the
Office of Investigations, a copy of the FOIA request is
referred to each office identified by TECS as having
responsive records and that office is directed.to conduct
a search, make a determination on disclosure, and respond
directly to the requester. (Plitman Decl., T 24.)

22. With respect to the two FOIA requests Plaintiff
submitted to HQ, the program analyst assigned to his FOIA
requests queried7 TECS, located responsive documents,
reviewed the documents for a determination of whether any
exemptions were applicabler and responded to Plaintiff’s
request. Because TECS indicated that the agency office in
Little Rock might have responsive records, the program
analyst also referred the FOIA requests to the SAC, New
Orleans Office, which oversaw the office in Little Rock,
for a records search, disclosure determination, and
direct response to Plaintiff and/or his brother. (Plitman
Decl., l 25.)

23. ln response to Plaintiff's first and Second
FOIA requests, this office made a partial disclosure to
both Plaintiff and his brother on January 15, 2003 and
April 3, 2003,r respectively. (Plitman Decl., T 26.)

24. With respect to Plaintiff’s FOIA request
received by the Office of the Port Directorr that office
advised. Plaintiff on December 19, 2002 that it was
referring his request to the SAC, New Orleans. (Plitman
Decl., l 27.)

25. The SAC, New Orleans responses dated May 21,
2003 made a partial disclosure to Plaintiff and his
brother in a collective response to FOIA requests filed
by Plaintiff that had been referred to that office.
(Plitman Decl., l 28.)

26. With respect to the additional records that the
agency's office in Little Rock recently determined were
responsive to Plaintiff’s FOIA requests, concurrent with
this declaration, this office makes an additional release
to Plaintiff of fifty-three (53) pages of redacted
records. The redactions on those pages are made pursuant
to FOIA exemptions (b)(7)(C) and (b)(7)(E). (Plitman
Decl., L 29.)

27. The records responsive to Plaintiff’s request
were reviewed page-by-page and line-by-line to ensure

13

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 14 of 20 Page|D 50

that all non-exempt portions of the records could be
provided to Plaintiff. Based on that review, ICE has
provided Plaintiff with all portions of all records that
it believes were not otherwise exempt from disclosure
under FOIA. (Plitman Decl., l 34.)

The Sixth Circuit has described the structure of the FOIA
as follows:

The FOIA generally provides that every federal
agency shall promptly make available upon request records
reasonably described. 5 U.S.C. § 552(a)(3)(A). Under the
Act, an agency may not withhold or limit the availability
of any record, unless one of the FOIA's specific
exceptions applies. ld;_§ 552{d). These exceptions are to
be narrowly construed . . . and the burden is on the
agency to justify its action. 5 U.S.C. § 552(a)(4)(B).

Rugiero v. United States Dep't of Justice, 257 F.3d 534, 543 (6th

Cir. 2001). This Court reviews denials of FOIA requests de novo. 5

 

U.S.C. § 552(a)(4)(B); Rugiero, 257 F.3d at 543.

ln this case, the agency provided documents responsive to
plaintiff's FOIA requests by letters dated January 15, 2003 and May
21, 2003. Findings of Fact (“FF”) 4, 14, 23. ln addition, the
agency sent documents responsive to plaintiff's FOIA requests
directly to his brother by letters dated April 3, 2003 and May 21,
2003. FF 9, 15, 23. Likewise, a representative of the defendant
stated under oath that, during the course of this litigation,
additional documents that had not been previously identified in the
responses to plaintiff's FOIA requests would be produced by letter
dated October 28, 2004. FF 16, 18, 26.

Neither the verified complaint, nor plaintiff's response

to the summary judgment motion, clearly states whether he and his

14

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 15 of 20 Page|D 51

brother received the documents transmitted on January 15, 2003;
April 3, 2003; May 21, 2003; and October 28, 2004. The verified
complaint asserts that plaintiff did not receive any of the
documents requested in his third FOIA request dated February 3,
2003, Compl., l 17, but does not state whether the agency responded
to that request and does not address the responses to his two
previous FOIA requests.

The response to the summary judgment motion, which
plaintiff executed under penalty of perjury, is equally
unilluminating. Plaintiff asserts, without elaboration, that
“defendant failed to acknowledge the subsequently filed demand
letters and provided to plaintiff no documents or files whatsoever
regarding either plaintiff or Thomas Haney.” Response to Summary

Judgment Motion, filed Jan. 25, 2005 (“P. S.J. Br.”), at 2; see

 

also id. at 3. Later, however, plaintiff admits that he received

 

the January 15, 2003 letter, id;_ at 5, but states that his
subsequent requests have not been answered, id; Plaintiff does not
specifically state whether he and his brother received the April 3,
2003 letter, whether his brother received the May 21, 2003 letter,
or whether he received the October 28, 2004 letter. lt appears that
plaintiff denies receiving the May 21, 2003 letter addressed to him

and which included five pages of redacted documents. Haney does

15

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 16 of 20 Page|D 52

not, however, attempt to raise a triable issue of fact with respect
to whether that letter was properly mailed.ll
Pursuant to 6 C.F.R. § 5.9(c) (2005), anyone who wishes
to seek judicial review under the FOIA must first appeal an adverse
determination within the agency. The January 15, 2003 and May 21,
2003 letters to the plaintiff, as well as the April 3, 2003 letter
directed to the plaintiff's brother, advised that,
[ilnsofar as you may consider the deletions in the
enclosed pages to constitute a partial denial of your
request for disclosure, you may appeal such denial, in
writing, within 35 days after the date of this
notification to the Assistant Commissioner, Office of
Regulations and Rulings, U.S. Customs Service, 1300
Pennsylvania Avenue, NW, Washington, D.C. 20229.
Plitman Decl., Ex. 3; see also id., Exs. 6 & 13.12 Neither
plaintiff, nor his brother, filed appeals with respect to the
letters dated January 15, 2003; April 3, 2003; or May 21, 2003. FF

17.13 Plaintiff’s failure to exhaust his administrative remedies

 

n Plaintiff's response to the summary judgment motion also seeks to
rely on the allegations of the complaint and what it contends are admissions in
the defendant's answer. Contrary to plaintiff's assertion, the defendant's answer
did not “admit(] that it had neither provided any documents whatsoever to
plaintiff nor an explanation as to why no responsive documents had been provided
and that the time for defendant to properly respond had expired.” lg; at 3. To
the contrary, the answer states that certain documents were mailed to plaintiff
and his brother in response to plaintiff's FOIA requests. Answer, l 18.

12

(2005).

The current appeal provision is set forth in 6 C.F.R. § 5.9(a)

13 ln his response to the summary judgment motion, plaintiff first

asserts that the complaint alleged that he exhausted his administrative remedies.
P. S.J. Br. at 3. Although l 8 of the complaint alleges that the defendant's
failure to respond to the plaintiff's FOIA requests is tantamount to exhaustion,
see 5 U.S.C. § 552(a)(6)(C)(i), the Court has found that plaintiff has failed to
raise a triable issue of fact with respect to whether the defendant responded to
his FOlA requests.

(continued...)

16

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 17 of 20 Page|D 53

with respect to any of his FOIA requests precludes him from
obtaining relief in a federal court. Hidalqo v. Federal Bureau of
lnvestigation, 344 F.3d 1256, 1258-60 (D.C. Cir. 2003); Reisman v.
Bullard, No. 00-4286, 14 Fed. Appx. 377, 379 (6th Cir. June 20,
2001); Taylor v. Appleton, 30 F.3d 1365, 1367-70 (llth Cir. 1994);
United States v. Reed, No. 94-5111, 1994 WL 524088, at *l (6th Cir.
Sept. 26, 1994).

The plaintiff's response to the summary judgment motion
is so vague that it is impossible for the Court to ascertain the
plaintiff's precise contentions. He has failed to raise a triable
issue of fact with respect to whether the defendant did, in fact,
respond to his three FOIA requests. Haney has also failed to raise
a triable issue of fact with respect to whether he exhausted his
administrative remedies. Under these circumstances, it is not

necessary for the Court to consider whether the specific failures

to disclose and redactions were in accordance with applicable law.

 

w (...continued)

Plaintiff’s response to the summary judgment motion also states as
follows:

[A] copy of said administrative appeal is appended hereto; in
relevant part said appeal asserted that after having filed the FOIA
request, which defendant acknowledged receiving, no further
documents were received by plaintiff and plaintiff's further
requests for a statement as to the status of his several FOIA
requests went unanswered.

P. S.J. Br. at 3. Plaintiff has not attached a copy of any administrative appeal,
and he also has not attached copies of any “further requests for a statement as
to the status of his several FOIA requests." The response to the summary judgment
motion does not state when and where the appeal was purportedly filed. lt is,
therefore, insufficient to create a triable issue of fact.

17

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 18 of 20 Page|D 54

For all the foregoing reasons, the Court GRANTS the
defendant's motion for summary judgment. The complaint is DlSMlSSED
without prejudice to the plaintiff's right to refile in the event
he properly exhausts his administrative remedies.

The Court must also consider whether plaintiff should be
allowed to appeal this decision ip fp;m§ pauperis, should he seek
to do so. Pursuant to the Federal Rules of Appellate Procedure, a
non-prisoner desiring to proceed on appeal ip fp;mp pauperis must
obtain pauper status under Fed. R. App. P. 24(a). §pp Callihan v.
Schneider, 178 F.3d 800, 803-04 (6th Cir. 1999). Rule 24(a)
provides that if a party seeks pauper status on appeal, he must
first file a motion in the district court, along with a supporting
affidavit. Fed. R. App. P. 24(a)(1). However, Rule 24(a) also
provides that if the district court certifies that an appeal would
not be taken in good faith, or otherwise denies leave to appeal ip
fprm§ pauperis, the prisoner must file his motion to proceed ip
fp;m§ pauperis in the Court of Appeals. Fed. R. App. P. 24(a)(4)-
(5).

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. lgp The same
considerations that lead the Court to grant summary judgment for
the defendant also compel the conclusion that an appeal would not

be taken in good faith.

18

Case 2:03-cv-02530-.]DB-dkv Document 22 Filed 07/25/05 Page 19 of 20 Page|D 55

lt is therefore CERTIFIED, Fed. R. App. P. 24(a), that
any appeal in this matter by plaintiff is not taken in good faith.
Leave to proceed on appeal ip fp;p§_pauperis is, therefore, DENlED.
Accordingly, if plaintiff files a notice of appeal, he must also
pay the full $255 appellate filing fee or file a motion to proceed
ip fprma pauperis, accompanied by a supporting affidavit, in the
Sixth Circuit Court of Appeals within thirty (30) days.

ir is so oRDERED this §§ day of Juiy, 2005.

 

UANIEL BREEN
UNI ED STATES DISTRIC JUDGE

19

DITRICT oURT - WESRNTE DI"ICTRT oF TENNESSEE

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This notice confirms a copy cf the document docketed as number 22 in
case 2:03-CV-02530 Was distributed by fax, mail, or direct printing on
July 25, 2005 tc the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

